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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                     )
                                             )
               v.                            ) Criminal No. 1:19-cr-00184-JAW
                                             )
PRANEETH MANUBOLU                            )




             PROSECUTION VERSION OF THE OFFENSES (COUNTS 1-6)

       In the early morning hours of August 31, 2019, Bar Harbor Police Department officers

were dispatched to the Park Loop Road in Acadia National Park based on the report of a single

motor vehicle crash. Acadia National Park is a place within the special maritime and territorial

jurisdiction of the United States. The Park Loop Road is a winding, scenic road with speed limits

ranging from 25 miles per hour to 35 miles per hour. Upon arriving at the crash site, officers

observed a severely damaged vehicle in a ditch. One person, later identified as PRANEETH

MANUBOLU (hereinafter “the defendant”), was outside of the vehicle. The defendant was the

owner of the crashed vehicle. Officers immediately turned their attention to the three people

remaining in the vehicle. Officers saw two unresponsive male passengers, M.Z. and L.F., trapped

in the back seat of the vehicle. Officers determined that neither male was breathing or had a

pulse. Officers were able to remove the female passenger, L.L., from the vehicle and began

performing CPR until paramedics arrived on scene and took over life-saving measures. Like

M.Z and L.F., L.L. did not survive her injuries.

       While officers and paramedics were attending to the vehicle passengers, an officer with

the Bar Harbor Police Department spoke with the defendant. The defendant stated he met his

passengers through an internet application called “Meet Up.” He and his passengers used the
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application to connect with people to go hiking. The defendant stated he had driven up from New

Jersey earlier that day and arrived at Smuggler’s Den campground in Southwest Harbor around

11:00 p.m. After setting up his tent, he and his passengers headed into Bar Harbor in the

defendant’s vehicle for dinner and drinks. The defendant admitted to consuming multiple shots

of alcohol around midnight. He also admitted to being the driver of the vehicle prior to the crash.

       Due to the extent and nature of the crash as well as the visible injury to the defendant’s

face, he was transported to the hospital for evaluation. At the hospital, and approximately ninety

minutes after the crash, the defendant’s blood was drawn to determine his blood alcohol content

(BAC). The defendant’s BAC was later determined to be .095% with the legal limit being .08%.

       National Park Service Rangers, Bar Harbor Police Officers, an accident reconstructionist,

and other law enforcement officials remained on scene to document and investigate the causes of

the crash. Through the course of their investigation, it was determined that just 3.2 seconds prior

to the crash impact, the defendant’s vehicle was traveling 76 miles per hour. The posted speed

limit in the location of the crash is 25 miles per hour.

       Had this case proceeded to trial, the government would have presented testimony from

Bar Harbor Police Department officers, National Park Service Rangers, accident

reconstructionists, and a chemist from the Maine Health and Environmental Testing Laboratory.

In addition, the government would have submitted the defendant’s BAC results, the passenger

autopsy reports, the report of the motor vehicle’s sensing diagnostic module (the “black box”),

and audio and video recordings from officer body cameras, law enforcement vehicle cameras,

and restaurant CCTV footage.
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     Dated at Bangor this 25th day of January 2022.

                                                 Respectfully submitted,

                                                 DARCIE N. MCELWEE
                                                 United States Attorney

                                                 /s/Raphaelle A. Silver
                                                 Raphaelle A. Silver
                                                 Assistant U.S. Attorney

                                                 /s/ M. Andrew McCormack
                                                 M. Andrew McCormack
                                                 Assistant U.S. Attorney
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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

                                CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2022, I electronically filed the document(s) with the
Clerk of Court using the CM/ECF system which will send notification of such filing(s) to the
following:

Walt McKee, Esq.
Attorney for the Defendant                                   Darcie N. McElwee
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